               Case 2:11-cr-00190-KJM Document 101 Filed 11/15/12 Page 1 of 4


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5
     Attorney for Defendant
     FRANK ALIOTO
6
                             IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
7

8

9    UNITED STATES OF AMERICA,                      )       No. CR-S-11-190 MCE
                                                    )
                                                    )
10           Plaintiff,                             )       STIPULATION REGARDING
11
                                                    )       EXCLUDABLE TIME PERIODS
     v.                                             )       UNDER SPEEDY TRIAL ACT;
                                                    )       FINDINGS and ORDER
12
     NICHOLAS RAMIREZ, et al.,                      )
                                                    )       Date: February 28, 2013
13
                                                    )       Time: 9:00 a.m.
             Defendants.                            )       Judge: Honorable Morrison C. England, Jr.
14
                                                    )
                                                    )
15
                                                    )
16
             The United States of America through its undersigned counsel, Jason Hitt, Assistant
17
     United States Attorney, together with counsel for defendant Nicholas Ramirez, Michael B.
18

19   Bigelow, Esq., counsel for defendant Ung Duong, Michael L. Chastaine, counsel for defendant

20   Phat Nguyen, Michael D. Long, Esq., counsel for defendant Justin Nonoguchi, Christopher R.
21
     Cosca, Esq., counsel for defendant Frank Alioto, John R. Manning, Esq., counsel for defendant
22
     Manuel Keith, Jan D. Karowsky, Esq., counsel for defendant Tiffany Brown, Dina L. Santos,
23

24
     Esq., and counsel for defendant Andre Cawthorne, Scott L. Tedmon, Esq., hereby stipulate the

25   following:
26
          1. By previous order, this matter was set for status conference on November 8, 2012.
27

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                                                        1
              Case 2:11-cr-00190-KJM Document 101 Filed 11/15/12 Page 2 of 4


        2. By this stipulation, defendants now move to continue the status conference until February
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2    28, 2013 and to exclude time between November 8, 2012 and February 28, 2013 under the Local

3    Code T-2 and T-4.
4
        3.   The parties agree and stipulate, and request the Court find the following:
5
             a. This case was the product of a lengthy investigation in which wiretaps were utilized
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7
                on multiple telephones. The government has produced discovery which to date

8               includes 1,952 pages containing wiretap applications, periodic reports, and
9               investigative materials. Additionally, the government has provided defense counsel
10
                with voluminous wiretap conversations. Given this large volume of discovery, the
11
                defense counsel needs additional time to review the discovery and consult with their
12

13              respective clients.

14           b. The Government does not object to the continuance.
15
             c. Based on the above-stated findings, the ends of justice served by granting the
16
                requested continuance outweigh the best interests of the public and the defendants in
17
                a speedy trial within the original date prescribed by the Speedy Trial Act.
18

19           d. For the purpose of computing time under the Speedy Trial Act, 18 United States Code

20              Section 3161(h)(7)(A) within which trial must commence, the time period of
21
                November 8, 2012 to February 28, 2013 inclusive, is deemed excludable pursuant to
22
                18 United States Code Section 3161(h)(7)(A) ) and (B)(ii) and (iv), corresponding to
23

24
                Local Code T-2 and T-4 because it results from a continuance granted by the Court at

25              defendant’s request on the basis of the Court’s finding that the ends of justice served
26              by taking such action outweigh the best interest of the public and the defendant in a
27
                speedy trial.
28




                                                     2
              Case 2:11-cr-00190-KJM Document 101 Filed 11/15/12 Page 3 of 4


       4.   Nothing in this stipulation and order shall preclude a finding that other provisions of the
1

2           Speedy Trial Act dictate that additional time periods are excludable from the period within

3           which a trial must commence.
4
     IT IS SO STIPULATED.
5

6

7    Dated: November 5, 2012                                      /s/ Michael B. Bigelow
8
                                                                  MICHAEL B. BIGELOW
                                                                  Attorney for Defendant
9                                                                 Nicholas Ramirez
10   Dated: November 5, 2012                                      /s/ Michael L. Chastaine
11
                                                                  MICHAEL L. CHASTAINE
                                                                  Attorney for Defendant
12                                                                Ung Duong
13
     Dated: November 6, 2012                                      /s/ Michael D. Long
14                                                                MICHAEL D. LONG
                                                                  Attorney for Defendant
15                                                                Phat Nguyen
16
     Dated: November 5, 2012                                       /s/ Christopher R. Cosca
17                                                                CHRISTOPHER R. COSCA
                                                                  Attorney for Defendant
18                                                                Justin Nonoguchi
19
     Dated: November 5, 2012                                       /s/ John R. Manning
20                                                                JOHN R. MANNING
                                                                  Attorney for Defendant
21                                                                Frank Alioto
22
     Dated: November 5, 2012                                       /s/ Jan D. Karowsky
23                                                                JAN D. KAROWSKY
                                                                  Attorney for Defendant
24                                                                Manuel Keith
25
     Dated: November 5, 2012                                      /s/ Dina L. Santos
26                                                                DINA L. SANTOS
                                                                  Attorney for Defendant
27                                                                Tiffany Brown
28




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                             Case 2:11-cr-00190-KJM Document 101 Filed 11/15/12 Page 4 of 4


     Dated: November 5, 2012                                                  /s/ Scott L. Tedmon
1
                                                                              SCOTT L. TEDMON
2                                                                             Attorney for Defendant
                                                                              Andre Cawthorne
3

4

5
     Dated: November 5, 2012                                                  Benjamin B. Wagner
6                                                                             United States Attorney
7
                                                                              by:/s/ Jason Hitt
8                                                                             JASON HITT
                                                                              Assistant U.S. Attorney
9

10
                                                               ORDER
11

12                          Pursuant to the parties’ stipulation, IT IS SO FOUND AND ORDERED.
13                          The status conference, currently set for November 8, 2012, is continued to February 28,
14   2013, at 9 a.m. in Courtroom 7. The time period between November 8, 2012 and February 28,
15   2013 is excluded under the Local Code T-2 and T-4.

16
     Dated: November 14, 2012
17
                                                            __________________________________
18
                                                            MORRISON C. ENGLAND, JR
19   DEAC_Signatu re-END:
                                                            UNITED STATES DISTRICT JUDGE

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